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               1                                                                         The Hon. James P. Donohue
                                                                                             Chief Magistrate Judge
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               8                               UNITED STATES DISTRICT COURT
                                              WESTERN DISTRICT OF WASHINGTON
               9                                        AT SEATTLE
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                                                                    CASE NO. 2:17-CV-00218-RSM-JPD
           12
                   Daniel Ramirez Medina,
           13                                                       DECLARATION OF ETHAN D.
                                          Petitioner,               DETTMER IN SUPPORT OF
           14                                                       PETITIONER’S RESPONSE BRIEF RE:
                                  v.                                COURT’S FEBRUARY 14, 2017, ORDER
           15      U.S. DEPARTMENT OF HOMELAND                      DIRECTING SERVICE, SETTING
                   SECURITY; JOHN KELLY, Secretary of               STATUS CONFERENCE, AND
           16      Homeland Security; NATHALIE ASHER,               SETTING BRIEFING SCHEDULE
                   Director of the Seattle Field Office of U.S.
           17      Immigration and Customs Enforcement,
           18                             Respondents.
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Crutcher LLP       Case No. 2:17-cv-00218-RSM-JPD                                         Counsel listed on next page
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               1   I, Ethan D. Dettmer, declare as follows:
               2      1. I am an attorney admitted to practice law pro hac vice before this Court. I am a partner at the
               3           law firm of Gibson, Dunn & Crutcher LLP, and I am one of the attorneys representing Daniel
               4           Ramirez Medina (“Mr. Ramirez”) in this case. I submit this declaration in support of Mr.
               5           Ramirez’s Response to the Respondent’s Brief re: Court’s February 14, 2017, Order Directing
               6           Service, Setting Status Conference, and Setting Briefing Schedule. The following facts are
               7           within my personal knowledge and, if called and sworn as a witness, I would testify
               8           competently to these facts.
               9      2. At about 9:30 in the morning on Monday, February 13, 2017, my colleague Mark Rosenbaum
           10              and I called Priscilla Chan, an Assistant United States Attorney in Seattle. We left Ms. Chan
           11              a voice mail message informing her about the Petition for Writ of Habeas Corpus we had just
           12              filed, and requesting that she return our call.
           13         3. At approximately 4:00 p.m. that same day, Ms. Chan returned the phone message. Mr.
           14              Rosenbaum and I told her that we had filed the case, explained the background to her and our
           15              expectation that Mr. Ramirez’s detention was likely a mistake. We asked that he be released
           16              from detention promptly. Mr. Rosenbaum and I explained that Mr. Ramirez is a DACA
           17              holder, should not have been detained in the first place, and should be released right away.
           18              Ms. Chan indicated that she had not yet seen the petition, so we offered to email it to her, and
           19              did so shortly thereafter. We agreed with Ms. Chan that we would speak further at 1:30 p.m.
           20              the next day.
           21         4.   At about 11:46 a.m. on Tuesday, February 14, 2017, we received an email from Ms. Chan
           22              informing us that the case had been “assigned to the DOJ’s Office of Immigration Litigation
           23              (‘OIL’) in D.C.” She indicated that she would send us the contact information for the specific
           24              lawyer when that person was identified.
           25         5.   Shortly before 5 p.m. on the same day, we were contacted by Jeffrey Robins, Assistant
           26              Director of OIL in Washington, D.C., telling us that he would be the lawyer responsible for
           27              this matter for the government. We spoke with Mr. Robins at approximately 5:45 that
           28              evening, and explained to him that Mr. Ramirez is a DACA holder, that we expected his

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               1           detention was just a mistake, and that he should be released. Mr. Robins responded by saying
               2           that he would not be released, and that it is the government’s position that Mr. Ramirez is
               3           affiliated with a gang, and that the government had begun removal proceedings.
               4      6.   Mr. Rosenbaum and I asked Mr. Robins what evidence he had that Mr. Ramirez was
               5           affiliated with a gang. Mr. Robins said that he understood that Mr. Ramirez has a tattoo. We
               6           asked what evidence Mr. Robins had that Mr. Ramirez’s tattoo had anything to do with gangs,
               7           and Mr. Robins said that he had none. Though he was asked to provide it, Mr. Robins had no
               8           other evidence in support of the claim that Mr. Ramirez was “affiliated” with a gang or was
               9           ever in a gang.
           10         7. Mr. Robins also said during our call that Mr. Ramirez had received a “Notice to Appear”
           11              while in detention. We told him that we had not seen that document and, to our knowledge, it
           12              had not been served on Mr. Ramirez.
           13         8. Mr. Rosenbaum and I concluded our call with Mr. Robins by asking that he please inform us
           14              of any evidence other than the alleged confession and the alleged gang tattoo that DHS has or
           15              develops in support of the conclusion that Mr. Ramirez is a gang member or has any gang
           16              affiliation.
           17

           18              I declare under penalty of perjury under the laws of the United States and the State of
           19      Washington that the foregoing is true and correct, and that I executed this Declaration on February
           20      16, 2017 in San Francisco, California.
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           22                                                                  /s/           Ethan D. Dettmer                  _
                                                                                         Ethan D. Dettmer
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